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                            UNITED STATES DISTRICT
                            COURT FOR THE
                            DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA )
                          )
                          )
 v.                       )                     Case No. 21-cr-00500
                          )
 MICHAEL L. BROCK         )
                          )
                Defendant )
                          )




     DEFENDANT MICHAEL LEON BROCK’S REPLY TO THE
GOVERNMENT’S OPPOSITION TO BROCK’S MOTION FOR CHANGE OF
  VENUE TO THE NORTHERN DISTRICT OF MISSISSIPPI, OXFORD
                       DIVISION

Comes Now Defendant Michael Leon Brock (“Brock”), through his undersigned

counsel, with this Reply to the Government’s Opposition (ECF # 51) regarding

Brock’s motion to transfer venue.

       Recent news stories are reporting that the District of Columbia is now running

out of potential jurors in January 6 cases. In fact, jurors are now being recycled back

into Jan. 6 jury pools because there are so few DC residents who have not already

been called for J6 jury service. See Alicia Powe “Defense Attorneys Sound Alarm on

‘RECYCLED JURORS’ on J6 Trials: ‘WHAT’S GOING ON?’ The Gateway Pundit,

Oct. 4, 2023 https://www.thegatewaypundit.com/?s=jurors (accessed 10/8/2023)

       The District Court for the District of Columbia encompasses the third smallest

total population of all federal court districts. See Table 1.1: 1990 Population Per




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Authorized Judgeship bv District (Lowest to Highest).

https://www.gao.gov/assets/ggd-98-57r.pdf (accessed 10/8/2023).

       Only the Districts of Wyoming and Alaska have smaller total populations.

Moreover, the DC District has by far the smallest population per judge of any federal

court district. See Table 1.2: 1990 Population Per Active Judge bv District smallest to

Highest). Id. p. 16.

       The District of Columbia is obviously not equipped to handle the massive

number of Jan. 6 trials already scheduled. The District lacks sufficient numbers of

potential jurors required.

       As Brock has already outlined in his motion, a disproportionate percentage of

the the District of Columbia’s potential jurors are disqualified due to direct knowledge

and involvement in the events of January 6. Another large proportion of DC’s jurors

are unfairly biased against all J6ers, as documented in Brock’s motion.

        And every DC resident and taxpayer is a victim, who has been injured by the

events of January 6. The District expects to pay for continued medical care for the

District’s officers as necessary going forward, including care related to the impact of

the Attack on MPD officers’ mental health.

       The great value of a trial by jury certainly consists in its fairness and

impartiality. United States v. Burr, 25 F. Case. 49, 51 (CC Va. 1807). An impartial

jury is required under the Constitution and has been required since the times of

common law. Id.; see also Patton v. Yount, 467 U.S. 1025 (1984). A criminal trial

ordinarily should take place in the district where the offense was committed. U.S.

Const, amend. VI; Fed. R. Crim. P. 18. But here, of course, the prosecution contends

in many cases and in many counts that the crimes charged were committed all over

the nation, and were crimes against national democracy.



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        If extraordinary local prejudice in Washington, D.C., will prevent the

defendant from obtaining a fair trial in the district of the offense, then due process

requires transferring the trial to another appropriate alternative venue. Skilling v.

United States, 130 S. Ct. 2896 (2010). Rule 21 allows a defendant to initiate a motion,

dependent upon the court's discretion, for transfer of a criminal case for trial in

another district, if(a) the atmosphere is so prejudicial the defendant cannot obtain a

fair and impartial trial within the district in which the action is brought or (b) for the

convenience of the parties and witnesses, if in the interest of justice. The purpose of

the rule is to secure a fair trial to the defendant when circumstances in the district

where the action is brought would place an undue risk of unfairness upon the

defendant if tried within that district. Sheppard v. Maxwell, 384 U.S. 333 (1965).

Federal Rule of Criminal Procedure 21 (a) states, in pertinent part, that upon a

defendant’s motion, the court must transfer the proceeding against that defendant to

another district ifthe court is satisfied that so great a prejudice against die defendant

exists in the transferring district that the defendant cannot obtain a fair and impartial

trial there. See United States v. Ayala, 64 F. Supp. 3d 446,450 (E.D.N.Y. 2014).

        Although cases granting motions to transfer under Rule 21(a) are rare, the

circumstances mandating the transfer in this case are unprecedented and require such

a result. All assumptions and doubts should be resolved in favor of a transfer of venue

when (a) the constitutional rights of the Defendants are not discretionary or optional

but are the Supreme Law of the Land overshadowing all other considerations

particularly mere matters of housekeeping or logistics, and (b) the public’s confidence

that justice has been done and that the legal system actually is fair is greatly more

important than convenience and logistical arrangements for a trial, and (c) the

Government makes a decision whether to bring a criminal charge; if that cannot be



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carried through consistent with the Constitution and the public’s confidence, the

Government has the option of not bringing the case.

             District of Columbia Residents Regard Themselves as Victims of

             January 6th Defendants 1, And Victims Cannot Be Unbiased Jurors

             Against Their Perpetrators

        A victim of a crime and the victim’s friends and family are generally held to

be biased jurors in the victim’s case. See, e.g., State v. Montella, 2022 Tenn. Crim.

App. LEXIS 156 (holding that Defendant’s right to a fair trial was violated and

ordering a new trial because a juror failed to disclose his relationship with the victim’s

parents). Furthermore, victims of certain types of crimes, such as domestic abuse and

sexual assault, who do not disclose these types of crimes against themselves, are

found to be potentially biased jurors in cases of similar types. See, e.g., Sexton v.

Slate, 2019 Tenn. Crim. App. LEXIS 755 (holding that defendant’s right to a fair trial

and impartial jury was violated because a juror did not disclose her history of

domestic abuse, and, during deliberations, she discussed her experiences as a victim

of domestic violence and compared herself to the defendant’s wife).




1
 See Hector Alejandro Arzate et al., ‘It Was An Attack On Our Hometown’: How 11 Washingtonians
Remember the Insurrection, DCIST (Jan. 5, 2022), https://dcist.com/story/22/01/05/dc-locals-jan-6-
capitol-insurrection-anniversary/.


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Dated: October 8, 2022                Respectfully Submitted,

                                       /s/ John M. Pierce
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                                    CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, October 8, 2023, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce




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